CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 1 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 2 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 3 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 4 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 5 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 6 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 7 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 8 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 9 of 10
CASE 0:10-cv-02585-SRN-TNL Document 1 Filed 06/23/10 Page 10 of 10
